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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )          4:08CR3095
                     Plaintiff,               )
                                              )
       vs.                                    )
                                              )          ORDER
JESUS MENDIBIL,                               )
                                              )
                     Defendant.               )


       IT IS ORDERED that:


       (1)    The government’s request for hearing (filing 105) is granted.


       (2)    A hearing on the government’s motion for reduction of sentence pursuant to
Rule 35(b) (filing 96) has been set before the undersigned United States district judge on
Wednesday, January 18, 2012, at 11:00 a.m., 5 th Floor, United States Courthouse and Federal
Building, 100 Centennial Mall North, Lincoln, Nebraska.


       (3)    At the request of the defendant through his counsel, the defendant will
participate in the hearing by telephone.


       (4)    The Marshal is directed not to return the defendant to the district.


       (5)    The defendant is held to have waived his right to be present.

       Dated January 4, 2012.

                                           BY THE COURT:

                                           Richard G. Kopf
                                           Senior United States District Judge
